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17
                         SUPERIOR COURT OF THE STATE OF CALIFORNIA
18
                                         COUNTY OF SAN DIEGO
19
        JANE DOE NOS. 1 - 14, inclusive, individuals;       CASE NO.: 37-2016-00019027-CU-FR-CTL
20
                       Plaintiffs,                          SECOND AMENDED COMPLAINT
21
        v.
22
        GIRLSDOPORN.COM, a business organization,           1.   Intentional Misrepresentation
23      form unknown; MICHAEL J. PRATT, an                  2.   Fraudulent Concealment
        individual; ANDRE GARCIA, an individual;            3.   False Promise
24      MATTHEW WOLFE, an individual; BLL                   4.   Negligent Misrepresentation
        MEDIA, INC., a California corporation; BLL          5.   Misappropriation of Name & Likeness
25      MEDIA HOLDINGS, LLC, a Nevada limited                    [Common Law]
        liability company; DOMI PUBLICATIONS,               6.   Misappropriation of Name & Likeness
26      LLC, a Nevada limited liability company; EG              [Civ. C. § 3344]
27      PUBLICATIONS, INC., a California                    7.   Intentional Infliction of Emotional Distress
        corporation; M1M MEDIA, LLC, a California           8.   Negligence
28      limited liability company; BUBBLEGUM                9.   Breach of Contract
                                                        1
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           FILMS, INC., a business organization, form         10. Promissory Estoppel
 1         unknown; OH WELL MEDIA LIMITED, a                  11. Unlawful & Fraudulent Business Practices
           business organization, form unknown; MERRO             [Bus. & Prof. Code §17200]
 2
           MEDIA, INC., a California corporation;             12. Fraudulent Transfer
 3         MERRO MEDIA HOLDINGS, LLC, a Nevada
           limited liability company; and ROES 1 - 550,
 4         inclusive,

 5                      Defendants.
 6

 7            Plaintiffs JANE DOES NOS. 1 - 14, inclusive, individuals, (all plaintiffs collectively, “The

 8   Plaintiffs”) bring this second amended complaint against defendants GIRLSDOPORN.COM, a

 9   business organization, form unknown; MICHAEL J. PRATT, an individual; ANDRE GARCIA, an

10   individual; MATTHEW WOLFE, an individual; BLL MEDIA, INC., a California corporation; BLL

11   MEDIA HOLDINGS, LLC, a Nevada limited liability company; DOMI PUBLICATIONS, LLC, a

12   Nevada limited liability company; EG PUBLICATIONS, INC., a California corporation; M1M

13   MEDIA, LLC, a California limited liability company; BUBBLEGUM FILMS, INC., a business

14   organization, form unknown; OH WELL MEDIA LIMITED, a business organization, form unknown;

15   MERRO MEDIA, INC., a California corporation; MERRO MEDIA HOLDINGS, LLC, a Nevada

16   limited liability company; and ROES 1 - 550, inclusive (all defendants collectively, “The Defendants”).

17                                                THE PARTIES

18   1.       Plaintiff JANE DOE NO. 1 is an individual residing in San Diego County, California.

19   2.       Plaintiff JANE DOE NO. 2 is an individual residing in San Diego County, California.

20   3.       Plaintiff JANE DOE NO. 3 is an individual residing in Miami-Dade County, Florida.

21   4.       Plaintiff JANE DOE NO. 4 is an individual residing in Monmouth County, New Jersey.

22   5.       Plaintiff JANE DOE NO. 5 is an individual residing in Alachua County, Florida.

23   6.       Plaintiff JANE DOE NO. 6 is an individual residing in St. Tammany Parish, Louisiana.

24   7.       Plaintiff JANE DOE NO. 7 is an individual residing in Dallas County, Texas.

25   8.       Plaintiff JANE DOE NO. 8 is an individual residing in San Diego County, California.

26   9.       Plaintiff JANE DOE NO. 9 is an individual residing in Bexar County, Texas.

27   10.      Plaintiff JANE DOE NO. 10 is an individual residing in Los Angeles County, California.

28   11.      Plaintiff JANE DOE NO. 11 is an individual residing in Knox County, Tennessee.
                                                          2
                                          SECOND AMENDED COMPLAINT
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 1   12.    Plaintiff JANE DOE NO. 12 is an individual residing in Charlotte County, Florida.
 2   13.    Plaintiff JANE DOE NO. 13 is an individual residing in Miami-Dade County, Florida.
 3   14.    Plaintiff JANE DOE NO. 14 is an individual residing in Alberta, Canada.
 4   15.    GIRLSDOPORN.COM is a business organization, form unknown, with its principal place of
 5   business in San Diego County, California.
 6   16.    BLL MEDIA, INC. is a California corporation with its principal place of business in San Diego
 7   County, California.
 8   17.    BLL MEDIA HOLDINGS, LLC is a Nevada limited liability company with its principal place
 9   of business in Clark County, Nevada.
10   18.    DOMI PUBLICATIONS, LLC is a Nevada limited liability company with its principal place of
11   business in Clark County, Nevada.
12   19.    EG PUBLICATIONS, INC. is a California corporation with its principal place of business in
13   San Diego County, California.
14   20.    M1M MEDIA, LLC is a California limited liability company with its principal place of business
15   in San Diego County, California.
16   21.    BUBBLEGUM FILMS, INC. is a business organization, form unknown, with, on information
17   and belief, its “principal place of business” in Port Vila, Vanuatu.
18   22.    OH WELL MEDIA LIMITED is a business organization, form unknown, with, on information
19   and belief, its “principal place of business” in Port Vila, Vanuatu.
20   23.    MERRO MEDIA, INC. is a California corporation with its principal place of business in San
21   Diego County, California.
22   24.    MERRO MEDIA HOLDINGS, LLC is a Nevada limited liability company with its principal
23   place of business in Clark County, Nevada.
24   25.    On information and belief, GIRLSDOPORN.COM, BLL MEDIA, INC., BLL MEDIA
25   HOLDINGS, LLC, DOMI PUBLICATIONS, LLC, EG PUBLICATIONS, INC., M1M MEDIA, LLC,
26   BUBBLEGUM FILMS, INC., OH WELL MEDIA LIMITED, MERRO MEDIA, INC., MERRO
27   MEDIA HOLDINGS, LLC; and ROES 1 - 250 (“THE ENTITY DEFENDANTS”) are entities in the
28   business of online pornography production, distribution, and sales. On information and belief, THE
                                                        3
                                          SECOND AMENDED COMPLAINT
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 1   ENTITY DEFENDANTS own and/or operate numerous online pornography websites, including,
 2   without limitation, www.girlsdoporn.com.
 3   26.    MICHAEL J. PRATT (“PRATT”) is an individual residing in San Diego County, California.
 4   On information and belief, he is a sales agent and representative, and the majority or sole shareholder,
 5   managing member, and/or chief executive officer of each of THE ENTITY DEFENDANTS.
 6   27.    ANDRE GARCIA (“GARCIA”) is an individual residing in San Diego County, California. On
 7   information and belief, he is a sales agent and representative for each of THE ENTITY DEFENDANTS
 8   – as well as a participant and “actor” in their pornography.
 9   28.    MATTHEW WOLFE (“WOLFE”) is an individual residing in San Diego County, California.
10   On information and belief, he is a sales agent and representative for each of THE ENTITY
11   DEFENDANTS – as well as a videographer of their pornography.
12   29.    On information and belief, ROES 251 – 500 are other shareholders, members, officers, sales
13   agents, representatives, videographers, and/or “actors” of THE ENTITY DEFENDANTS.
14   30.    The Plaintiffs are ignorant of the true names, capacities, and/or liabilities of defendants sued
15   herein as ROES 1 - 550, inclusive, and therefore sue these defendants by such fictitious names and
16   allege that ROES 1 - 550 are responsible in some manner for the occurrences herein alleged. The
17   Plaintiffs will amend this complaint to allege their true names, capacities, and/or liabilities when
18   ascertained.
19   31.    In doing all things alleged herein, including, without limitation, corresponding, negotiating, and
20   contracting with The Plaintiffs, The Defendants were agents, servants, representatives, partners, joint
21   venturers, affiliates, parents, subsidiaries, and/or employees of each other in the acts and/or omissions
22   herein alleged. The Defendants were and are acting within the course and scope of their authority as
23   such agents, servants, representatives, partners, joint venturers, affiliates, parents, subsidiaries, and/or
24   employees and with the permission, authorization, consent, and ratification of each other.
25   32.    In doing all things alleged herein, including, without limitation, corresponding, negotiating, and
26   contracting with The Plaintiffs, THE ENTITY DEFENDANTS, PRATT, GARCIA, WOLFE, and
27   ROES 251 – 550 acted as alter egos of each other. In particular, they: (a) commingled their funds and
28   other assets, failed to segregate funds between them, and have without authorization diverted corporate
                                                         4
                                           SECOND AMENDED COMPLAINT
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 1   funds and assets for noncorporate uses; (b) treated each other’s assets as their own; (c) issued shares of
 2   one other to themselves and third parties haphazardly and without authority; (d) held themselves out as
 3   being personally liable for the debts of each other; (e) failed to maintain minutes and corporate records,
 4   and confused of the records of the separate entities; (f) used the same business locations and employed
 5   the same employees; (g) failed to adequately capitalize the entities; (h) used each other as a conduit for
 6   a single venture of themselves; (i) failed to maintain arm’s length relationships among themselves; and
 7   (j) diverted assets without consideration from/to one another to the detriment of creditors, including
 8   The Plaintiffs. Recognition of the privilege of separate existences between these defendants would
 9   promote injustice, unfairness, and fraud. Any separateness is to be disregarded. As such, The
10   Defendants are jointly and severally liable in this action as alter egos.
11                                        JURISDICTION AND VENUE
12   33.    This Court has jurisdiction over The Defendants as they are physically present in San Diego
13   County, California and/or because The Defendants committed the subject acts and omissions in San
14   Diego County, California.
15   34.    Venue is proper as San Diego County is where The Defendants reside and have their principal
16   place of business, the subject contracts were entered into, and/or the obligations and liability arose.
17                                         FACTUAL ALLEGATIONS
18   The Defendants’ Business Scam: Lie to Young Women and Con them into Online Pornography
19   35.    PRATT, GARCIA, WOLFE and the rest of The Defendants operate a San Diego-based
20   pornography business, which irreparably damages the lives of young women from San Diego and
21   across the country.
22   36.    The Defendants collectively run pornography websites, the main website being
23   www.girlsdoporn.com, a subscription-based amateur pornography website, which gets more traffic than
24   the San Diego Padres website.
25   37.    The young women appearing in The Defendants’ amateur pornography come from good
26   families, have never appeared in pornography before, are often paying their way through school, and
27   are just beginning their careers and adulthood. So, there is only way The Defendants can convince
28   these women to have sex on film or produce other adult video material: The Defendants lie to them.
                                                       5
                                          SECOND AMENDED COMPLAINT
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 1    38.    The Defendants advertise themselves across the country as a legitimate Southern California
 2    modeling agency - on Craigslist and other websites, or even on sham websites they created, e.g.,
 3    www.beginemodelling.com. The Defendants ask for the name, age, height, weight, state, city, email,
 4    and phone number of each applicant, ask for photos, and, if The Defendants feel they have attracted a
 5    proper target, reach out to the women by phone and/or email in order to feel the women out more.
 6    Eventually, if a proper target, The Defendants offer the young women thousands of dollars for adult
 7    film work.
 8    39.    When the young women ask The Defendants where they will distribute the video, The
 9    Defendants assure them that they will not post the video online (or cause it to be so posted), they will
10    not distribute the video in the United States (or cause is to be so distributed), and they will keep each
11    woman anonymous. The Defendants represent the videos will be on DVDs overseas and for private
12    use. If needed for convincing, The Defendants provide a reference woman, who previously shot a
13    video (but, whose video is not yet released), to vouch for The Defendants and promise the same
14    security, limited distribution, and anonymity.
15    40.    In their discussions with these young woman, The Defendants use aliases and mention nothing
16    about their website(s) where they plan to post the videos, or the websites on which they plan to
17    publically promote and advertise the videos. The Defendants also mention nothing about: (a) all of the
18    other young women whose lives they have irreparably damaged earlier by The Defendants’ video
19    publication and promotion; (b) all of the other young women imploring them to stop and to take down
20    their videos; and (c) all of the complaints that they (and their legal counsel) have received from other
21    young women and their families.
22    41.    After The Defendants lie to the young women, they book rooms (usually under PRATT’S
23    name) at upscale San Diego County hotels, most often at major high-end chains in downtown San
24    Diego (e.g., Hilton, Hyatt, Marriot). If the young women are not in Southern California, The
25    Defendants pay for their airfare to San Diego (again, usually using PRATT’S name / credit card).
26    42.    Then, without hotel knowledge and consent, and, on information and belief, without any license
27    or permit whatsoever, The Defendants sneak videography equipment into the hotel – hiding the
28    equipment in large suitcases – in order to produce the amateur pornography.
                                                           6
                                           SECOND AMENDED COMPLAINT
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 1    43.    Once the young women are confined to the hotel room, The Defendants present them with
 2    documents to sign: (a) often under duress, coercion, and/or while distracting or rushing them; (b) while
 3    continuing to orally misrepresent their intent for the video’s eventual distribution; (c) while continuing
 4    to fraudulently omit the material facts referenced herein (e.g., that they work for a San Diego-based
 5    pornography website that has damaged other young women’s lives); and (d) often lying about the
 6    purported nature and effect of the documents.
 7    44.    Around one month after filming, despite their earlier representations, The Defendants release
 8    the videos on, at least, www.girlsdoporn.com (their monthly subscription-based website) and
 9    www.girls-do-porn.com (a free website with clips of the videos that then directs the user to
10    www.girlsdoporn.com). The Defendants also release/license all or part of the videos all over the
11    internet on a multiple of free pornography websites – in part, to advertise www.girlsdoporn.com with
12    the images and likenesses of the young women. (Interestingly, and by no accident, GARCIA’S (and
13    any other male participant’s) face is never shown in any video.) Soon thereafter, someone who knows
14    one of the young women will notify them the video is online. This becomes the first time the young
15    women have ever heard of The Defendants’ main website: www.girlsdoporn.com.
16    45.    When the young women reach out to The Defendants, they discover The Defendants have
17    changed their phone numbers (they use disposable phones and/or changeable Internet phone numbers)
18    and have also used fake names (e.g., PRATT often uses “Mark,” GARCIA often uses “Jonathan,” and
19    WOLFE often uses “Ben” or “Isaac”). The Defendants then refuse to talk to the women, hang up on
20    them, and/or block their calls. If the women get in contact with The Defendants’ counsel, they refuse to
21    even give The Plaintiffs copies of any documents signed and threaten them with legal action.
22    46.    After The Defendants cause the videos to be distributed online, The Defendants, their
23    subscribers, and/or Internet stalkers release The Plaintiffs’ real names online, usually on blogs followed
24    by “fans” and subscribers of www.girlsdoporn.com. As a result (of which The Defendants are
25    cognizant), third parties often then stalk, harass, bully, and blackmail the young women and their
26    families – online, by telephone, and in-person.
27    47.    Because of The Defendants, some of these young women lose relationships with friends,
28    significant others, and family. Some lose or change jobs, and some are forced to leave their school.
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                                           SECOND AMENDED COMPLAINT
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 1    Months to years after the videos, many are still harassed by strangers on the Internet. And almost all
 2    have suffered severe psychological and emotional damage -- some have even considered suicide.
 3    48.    Below, are more specific facts and claims of fourteen (14) plaintiff young women.
 4    JANE DOE NO. 1
 5    49.    In July 2015, The Defendants posted an advertisement on Craigslist.com in the gigs/modeling
 6    section for the Las Vegas area, seeking young women for adult modeling.
 7    50.    That same month, JANE DOE NO. 1 responded to the advertisement and corresponded with
 8    GARCIA (going by his alias “Jonathan”) by email, text message, and telephone. GARCIA eventually
 9    offered her $9,200 for 3 videos.
10    51.    That same month, in July 2015, GARCIA told JANE DOE NO. 1 on the phone that they would
11    not post the videos online, they would not distribute the videos in the United States, and that she would
12    remain anonymous. GARCIA told her the video would go to one “private buyer” overseas in Australia
13    - and would only be in DVD format. They had her speak with another women, who assured her the
14    videos do not get leaked.
15    52.    On August 3, 2015, September 14, 2015, and September 22, 2015, JANE DOE NO. 1 made
16    adult videos for The Defendants at The Palomar in downtown San Diego, 707 10th Avenue in
17    downtown San Diego, and at the Coronado Island Marriott, respectively. Before each shoot, GARCIA
18    and WOLFE (going by his alias “Ben”), again, assured JANE DOE NO. 1 they would not post the
19    videos online, they would not distribute the videos in the United States, and that she would remain
20    anonymous. They assured her there was nothing to worry about, promised her privacy, and said
21    nobody she knew would see the videos.
22    53.    They continued to make these representations when providing her with documents, which
23    GARCIA and WOLFE did not let JANE DOE NO. 1 thoroughly read; they also distracted her and told
24    her the documents merely said the films would be for video format in Australia.
25    54.    After the videos, The Defendants reneged on their promise to pay JANE DOE NO. 1 the $9,200
26    and only paid her $8,200.
27    55.    In October 2015, The Defendants released JANE DOE NO. 1’s videos on their website,
28    www.girlsdoporn.com, and other websites, which were then discovered by her high school, college, and
                                                      8
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 1    graduate school friends and acquaintances – as well her family.
 2    56.    Also around October 2015, The Defendants, their subscribers, and/or third parties leaked JANE
 3    NO. DOE 1’s real name and her contact information (social media, phone, email, etc.) on other
 4    websites, including, at least, the blog www.pornwikileaks.com. JANE DOE NO. 1 was harassed
 5    through social media, text message, and phone. People emailed and called JANE DOE NO. 1’s college
 6    and graduate school students, faculty, and deans, calling her a “whore, slut, disgrace, etc.,” sent links to
 7    or screenshots of her videos, and tagged her boyfriend on social media with the video.
 8    JANE DOE NO. 2
 9    57.    In Around February 2015, The Defendants posted an advertisement on Craigslist.com in the
10    gigs/modeling section for San Diego, CA, seeking young women for adult modeling.
11    58.    That same month, JANE DOE NO. 2 responded to the advertisement and corresponded with
12    GARCIA (going by his alias “Jonathan”) by email, text message, and telephone. GARCIA offered her
13    $6,000 for 2 videos.
14    59.    That same month, GARCIA told JANE DOE NO. 2 on the phone that they would not post the
15    videos online, they would not post the video online, they would not distribute the video in the United
16    States, and that she would remain anonymous. They told her the video would go to “private buyers”
17    overseas and would only be in DVD format. They further told her the “private buyers” had contracts,
18    which prevented them from sharing or distributing the videos. They had her speak with another
19    women, who assured her the videos do not get leaked.
20    60.    On February 1, 2015 and February 19, 2015, JANE DOE NO. 2 made adult videos for The
21    Defendants at the Hard Rock Hotel in downtown San Diego and a downtown condo, respectively.
22    Before each shoot, GARCIA and WOLFE (going by his alias “Isaac”) assured JANE DOE NO. 2 they
23    would not post the video online, they would not distribute the video in the United States, and that she
24    would remain anonymous. They assured her there was nothing to worry about, promised her privacy,
25    and said nobody she knew would see the videos.
26    61.    They continued to make these representations when providing her with documents, which
27    GARCIA and WOLFE did not let JANE DOE NO. 2 thoroughly read; they also distracted her and told
28    her they was merely a “tax form” and “privacy agreement.”
                                                        9
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 1    62.    After the video, The Defendants reneged on their promise to pay JANE DOE NO. 2 the $6,000
 2    and only paid her $5,000.
 3    63.    On or about April 10, 2015, The Defendants released JANE DOE NO. 2’s video on
 4    www.girlsdoporn.com and other websites, which was discovered by her friends and acquaintances – as
 5    well her family.
 6    64.    Also around April 10, 2015, The Defendants, their subscribers, and/or third parties leaked JANE
 7    DOE NO. 2’s real name and her contact information (social media, phone, email, etc.) on other
 8    websites, including, at least, the blog www.pornwikileaks.com. JANE DOE NO. 2 was harassed
 9    through social media, text message, and phone. She was called her a “whore, slut, disgrace, etc.” and
10    people sent her friends and acquaintances links to or screenshots of her video, and tagged her boyfriend
11    on social media with the video.
12    JANE DOE NO. 3
13    65.    In March 2014, The Defendants posted an advertisement on exploretalent.com, seeking young
14    women for adult modeling in San Diego, CA.
15    66.    That same month, JANE DOE NO. 3 responded to the advertisement and corresponded with
16    GARCIA (going by his alias “Jonathan”) by email and text message. GARCIA offered her $3,000 to
17    do an adult video. JANE DOE NO. 3 asked GARCIA where the video would be distributed. GARCIA
18    told her they would not post the video online, they would not distribute the video in the United States,
19    and that she would remain anonymous. GARCIA told her the video would be on DVD and only
20    distributed overseas in South America.
21    67.    On March 23, 2014, JANE DOE NO. 3 made an adult video for The Defendants at the Hilton
22    San Diego Bayfront. Before the shoot, GARCIA and WOLFE (going by his alias “Ben”), again,
23    assured JANE DOE NO. 3 they would not post the video online, they would not distribute the video in
24    the United States, and that she would remain anonymous. They assured her there was nothing to worry
25    about, promised her privacy, and said nobody she knew would see the videos.
26    68.    They continued to make these representations when providing her with documents, which
27    GARCIA and WOLFE said were merely to ensure her privacy and that she would be compensated.
28    ///
                                                          10
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 1    69.    Around July 4, 2014, The Defendants released JANE DOE NO. 3’s video on
 2    www.girlsdoporn.com and other websites, which were then discovered by her family, friends, co-
 3    workers, and employer.
 4    70.    Also around July 4, 2014, The Defendants, their subscribers, and/or third parties leaked JANE
 5    DOE NO. 3’s real name and her contact information (social media, phone, email, etc.) on other
 6    websites, including, at least, the blog www.pornwikileaks.com. People then harassed JANE DOE NO.
 7    3 through social media, text message, and phone. She has been shunned and blackmailed by friends
 8    and coworkers.
 9    JANE DOE NO. 4
10    71.    In April 2013, The Defendants, going by their alias “Bubblegum Casting,” posted an
11    advertisement on Craigslist.com in the gigs/modeling section for Eastern, North Carolina, seeking
12    young women for modeling.
13    72.    That same month, JANE DOE NO. 4 responded to the advertisement and corresponded with
14    WOLFE by email and text message. JANE DOE NO. 4 also FaceTimed with WOLFE and GARCIA.
15    WOLFE and GARCIA offered her $2,000 to do an adult video. JANE DOE NO. 4 asked WOLFE and
16    GARCIA where the video would be distributed. WOLFE and GARCIA told her they would not post
17    the video online, they would not distribute the video in the United States, and that she would remain
18    anonymous. WOLFE and GARCIA told her the video would be on DVD and would go only to a video
19    store in Australia.
20    73.    On April 9, 2013, JANE DOE NO. 4 made an adult video for The Defendants at the downtown
21    San Diego Marriott. The Defendants booked the room under WOLFE’S name. Before the shoot,
22    GARCIA and WOLFE, again, assured JANE DOE NO. 4 they would not post the video online, they
23    would not distribute the video in the United States, and that she would remain anonymous. They
24    assured her there was nothing to worry about, promised her privacy, and said nobody she knew would
25    see the videos.
26    74.    They continued to make these representations when providing her with documents, which
27    GARCIA and WOLFE did not let JANE DOE NO. 4 thoroughly read; they also gave JANE DOE NO.
28    4 alcohol and she was intoxicated when signing the documents.
                                                        11
                                          SECOND AMENDED COMPLAINT
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 1    75.    GARCIA and WOLFE then reneged on their promise to pay JANE DOE NO. 4 the $2,000 and
 2    only paid her $400 (they gave her stack of cash with twenty dollar bills on top, but clandestinely filled
 3    the middle with one dollar bills).
 4    76.    Around June 2013, The Defendants released JANE DOE NO. 4’s videos on
 5    www.girlsdoporn.com and other websites, including www.pornhub.com, which were then discovered
 6    by her family and friends.
 7    77.    Also around June 2013, The Defendants, their subscribers, and/or third parties leaked JANE
 8    DOE NO. 4’s real name and her contact information (social media, phone, email, etc.) on other
 9    websites, including, at least, the blog www.pornwikileaks.com. People then harassed JANE DOE NO.
10    4 through social media, text message, and phone. JANE DOE NO. 4 became depressed, could not
11    leave the house, was bullied, was blackmailed, and her car was vandalized.
12    JANE DOE NO. 5
13    78.    In August 2014, The Defendants posted an advertisement on Craigslist.com, seeking young
14    women for adult modeling in Gainesville, Florida.
15    79.    That same month, JANE DOE NO. 5 responded to the advertisement and corresponded with
16    GARCIA (going by his alias “Jonathan”) and PRATT or WOLFE (going by the alias “Mike”) by email
17    and text message. They offered her $3,000.00 to do an adult video. JANE DOE NO. 5 asked them
18    where the video would be distributed. They told her they would not post the video online, they would
19    not distribute the video in the United States, and that she would remain anonymous. They told her the
20    video would only go to a private collector in Australia. They had her speak with another women, who
21    assured her the videos do not get leaked.
22    80.    On August 29, 2014 and in early September 2014, JANE DOE NO. 5 made adult videos for The
23    Defendants at the Hilton San Diego Bayfront. Before the shoots, GARCIA and PRATT or WOLFE,
24    again, assured JANE DOE NO. 5 they would not post the video online, they would not distribute the
25    video in the United States, and that she would remain anonymous. They assured her there was nothing
26    to worry about, promised her privacy, and said nobody she knew would see the videos.
27    81.    They continued to make these representations when providing her with documents, which they
28    did not let JANE DOE NO. 5 thoroughly read; they told her they were merely documents saying she
                                                      12
                                           SECOND AMENDED COMPLAINT
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 1    was sober.
 2    82.      Around mid-December, 2014, The Defendants released JANE DOE NO. 5’s video on
 3    www.girlsdoporn.com and other websites, which were then discovered by her family, friends, and
 4    people in her hometown.
 5    83.      Also on information and belief, around mid-December, 2014, The Defendants, their subscribers,
 6    and/or third parties leaked JANE DOE NO. 5’s real name and her contact information (social media,
 7    phone, email, etc.) on other websites, including, at least, the blog www.pornwikileaks.com. People
 8    then harassed, threatened, and bullied JANE DOE NO. 5 through social media, text message, and
 9    phone.
10    JANE DOE NO. 6
11    84.      In May 2016, The Defendants posted an advertisement on Craigslist.com, seeking young
12    women for adult modeling in Baton Rouge, Louisiana.
13    85.      That same month, JANE DOE NO. 6 responded to the advertisement and corresponded with
14    GARCIA (going by his alias “Jonathan”) by email and text message. GARCIA offered her $7,000 to
15    do an adult video. JANE DOE NO. 6 asked them where the video would be distributed. GARCIA told
16    her they would not post the video online, they would not distribute the video in the United States, and
17    that she would remain anonymous. They told her the video would only go to DVDs in Australia. They
18    had her speak with another women, who assured her the videos do not get leaked.
19    86.      On May 19, 2016, JANE DOE NO. 6 made an adult video for The Defendants at the Coronado
20    Island Marriot. Before the shoot, GARCIA and ROE 251 (going by his alias “Ted”) and The
21    Defendants’ makeup artist (“Riva”) assured JANE DOE NO. 6 they would not post the video online,
22    they would not distribute the video in the United States, and that she would remain anonymous. They
23    assured her there was nothing to worry about, promised her privacy, and said nobody she knew would
24    see the videos. In fact, GARCIA said The Defendants had never had an issue with the videos getting
25    released, going viral, or anyone seeing the videos in the United States.1
26    ///
27
               1
                Notably, this is a month after Jane Doe Nos. 1 - 4 first sued The Defendants (including GARCIA) in this action
28    for, among other things, fraud and mass Internet distribution of their videos.
                                                                  13
                                                SECOND AMENDED COMPLAINT
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 1    87.    They continued to make these representations when providing her with documents, which
 2    GARCIA and ROE 251 did not let JANE DOE NO. 6 thoroughly read, and they told her the documents
 3    reiterated what they already discussed.
 4    88.    After the video, The Defendants reneged on their promise to pay JANE DOE NO. 6 the $7,000
 5    and only paid her $4,500.
 6    89.    Around early August 2016, The Defendants released JANE DOE NO. 6’s video on
 7    www.girlsdoporn.com and other websites, which were then discovered by her family, friends, and
 8    people in her hometown.
 9    90.    Also on information and belief, in early August 2016, The Defendants, their subscribers, and/or
10    third parties leaked JANE DOE NO. 6’s real name and her contact information (social media, phone,
11    email, etc.) on other websites, including, at least, the blog www.pornwikileaks.com. JANE DOE NO. 6
12    became depressed, could not leave the house, and considered dropping out of school.
13    JANE DOE NO. 7
14    91.    In October 2013, The Defendants posted an advertisement on Craigslist.com, seeking young
15    women for adult modeling in Dallas, Texas.
16    92.    That same month, JANE DOE NO. 7 responded to the advertisement and corresponded with
17    GARCIA and WOLFE. They offered her $2,000 to do an adult video. JANE DOE NO. 7 asked them
18    where the video would be distributed. GARCIA told her they would not post the video online, they
19    would not distribute the video in the United States, and that she would remain anonymous. They told
20    her the video would only go to DVDs in Australia.
21    93.    In October 2013, JANE DOE NO. 7 made an adult video for The Defendants at the Rancho
22    Bernardo Inn. Before the shoot, GARCIA and WOLFE assured JANE DOE NO. 7 they would not post
23    the video online, they would not distribute the video in the United States, and that she would remain
24    anonymous. They assured her there was nothing to worry about, promised her privacy, and said
25    nobody she knew would see the videos.
26    94.    They continued to make these representations when providing her with documents, which
27    GARCIA and WOLFE did not let JANE DOE NO. 6 thoroughly read, and they told her they were
28    merely documents saying the video’s distribution was on DVD in Australia only.
                                                        14
                                          SECOND AMENDED COMPLAINT
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 1    95.      On or before July 2016, The Defendants released JANE DOE NO. 7’s video on
 2    www.girlsdoporn.com and other websites, which were then discovered by her family, friends, and
 3    people in her hometown.
 4    96.      Also on information and belief, on or before July 2016, The Defendants, their subscribers,
 5    and/or third parties leaked JANE DOE NO. 7’s real name and her contact information (social media,
 6    phone, email, etc.) on other websites, including, at least, the blog www.pornwikileaks.com. JANE
 7    DOE NO. 7 became depressed, discriminated against, humiliated, and deeply traumatized.
 8    JANE DOE NO. 8
 9    97.      In July 2016, The Defendants posted an advertisement on Craigslist.com, seeking young women
10    for adult modeling in San Diego, California.
11    98.      That same month, JANE DOE NO. 8 responded to the advertisement and corresponded with
12    GARCIA and PRATT or WOLFE by email and text message. They offered her $2,000 to do an adult
13    video. JANE DOE NO. 8 asked them where the video would be distributed. They told her they would
14    not post the video online, they would not distribute the video in the United States, and that she would
15    remain anonymous. They told her the video was for private use and would not be so used for many
16    years.
17    99.      On or about July 18, 2016 and August 5, 2016, JANE DOE NO. 8 made adult videos for The
18    Defendants at L'Auberge Del Mar and a condo downtown, respectively. Before the shoots, GARCIA,
19    PRATT or WOLFE, and The Defendants’ makeup artist (“Riva”) assured JANE DOE NO. 8 they
20    would not post the video online, they would not distribute the video in the United States, and that she
21    would remain anonymous. They assured her there was nothing to worry about, promised her privacy,
22    and said nobody she knew would see the videos. In fact, GARCIA said The Defendants had never had
23    an issue with the videos getting released, going viral, or anyone seeing the videos in the United States.2
24    100.     They continued to make these representations when providing her with documents, which
25    GARCIA and PRATT or WOLFE did not let JANE DOE NO. 8 thoroughly read, and they told her they
26    were merely “protocol” and documents saying, “it was okay to film.”
27
               2
                This is almost 6 months after Jane Doe Nos. 1 - 4 first sued The Defendants (including GARCIA) in this action
28    for, among other things, fraud and mass Internet distribution of their videos.
                                                                  15
                                               SECOND AMENDED COMPLAINT
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 1    101.   In or around September 2016, The Defendants released JANE DOE NO. 8’s video on
 2    www.girlsdoporn.com and other websites, which were then discovered by her family, friends, and
 3    people in her hometown.
 4    102.   Also on information and belief, in or around September 2016, The Defendants, their
 5    subscribers, and/or third parties leaked JANE DOE NO. 8’s real name and her contact information
 6    (social media, phone, email, etc.) on other websites, including, at least, the blog
 7    www.pornwikileaks.com. JANE DOE NO. 8 became depressed, could not leave the house, and
 8    debated suicide several times.
 9    JANE DOE NO. 9
10    103.   In April 2014, The Defendants posted an advertisement on Craigslist.com, seeking young
11    women for adult modeling in San Antonio, Texas.
12    104.   That same month, JANE DOE NO. 9 responded to the advertisement and corresponded with
13    WOLFE and PRATT by email and text message. They offered her $3,500 to do adult videos. JANE
14    DOE NO. 9 asked them where the videos would be distributed. GARCIA told her they would not post
15    the videos online, they would not distribute the videos in the United States, and that she would remain
16    anonymous. When JANE DOE NO. 9 said she did not want the videos online, they said, “No, we
17    wouldn’t do that, you’ll be fine and protected – it’s discreet and professional.” They told her the videos
18    were for a DVD overseas.
19    105.   In April 2014, JANE DOE NO. 9 made adult videos for The Defendants at La Valencia in La
20    Jolla and at a condo downtown. Before the shoots, GARCIA and WOLFE assured JANE DOE NO. 9
21    they would not post the video online, they would not distribute the video in the United States, and that
22    she would remain anonymous. They assured her there was nothing to worry about, promised her
23    privacy, and said nobody she knew would see the videos.
24    106.   They continued to make these representations when providing her with documents, which
25    GARCIA and PRATT or WOLFE did not let JANE DOE NO. 9 thoroughly read, and they told her they
26    were merely documents saying, “it was okay to film.”
27    107.   In or around June 2014, The Defendants released JANE DOE NO. 9’s videos on
28    www.girlsdoporn.com and other websites, which were then discovered by her family, friends, and
                                                     16
                                           SECOND AMENDED COMPLAINT
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 1    employer.
 2    108.   Also on information and belief, in or around June 2014, The Defendants, their subscribers,
 3    and/or third parties leaked JANE DOE NO. 9’s real name and her contact information (social media,
 4    phone, email, etc.) on other websites, including, at least, the blog www.pornwikileaks.com.
 5    JANE DOE NO. 10
 6    109.   In March 2016, a prior woman who had just made a film referred JANE DOE NO. 10 to The
 7    Defendants.
 8    110.   That same month, JANE DOE NO. 10 corresponded with GARCIA and WOLFE by email and
 9    text message. They offered her $5,000 to do an adult video. JANE DOE NO. 10 asked them where the
10    video would be distributed. They told her they would not post the video online, they would not
11    distribute the video in the United States, and that she would remain anonymous. They told her the
12    video was for a private collector in Australia only. They assured her there was nothing to worry about,
13    promised her privacy, and said nobody she knew would see the videos. They had her speak with
14    another women, who assured her the videos do not get leaked.
15    111.   On July 12, 2015, JANE DOE NO. 10 made an adult video for The Defendants at The US Grant
16    in San Diego. Before the shoot, GARCIA and WOLFE assured JANE DOE NO. 10 they would not
17    post the video online, they would not distribute the video in the United States, and that she would
18    remain anonymous.
19    112.   They continued to make these representations when providing her with documents, which
20    GARCIA and WOLFE did not let JANE DOE NO. 10 thoroughly read.
21    113.   GARCIA and WOLFE then reneged on their promise to pay JANE DOE NO. 10 the $7,000 and
22    only paid her $2,000 (saying she looked old and deserved less).
23    114.   In or around November 2015, The Defendants released JANE DOE NO. 10’s video on
24    www.girlsdoporn.com and other websites, which were then discovered by her family, friends, and
25    employer.
26    115.   Also on information and belief, in or around November 2015, The Defendants, their subscribers,
27    and/or third parties leaked JANE DOE NO. 10’s real name and her contact information (social media,
28    phone, email, etc.) on other websites, including, at least, the blog www.pornwikileaks.com. People
                                                            17
                                          SECOND AMENDED COMPLAINT
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 1    then harassed JANE DOE NO. 10 and her family through social media.
 2    JANE DOE NO. 11
 3    116.   In March 2016, The Defendants posted an advertisement on Craigslist.com, seeking young
 4    women for adult modeling in Knoxville, Tennessee.
 5    117.   That same month, JANE DOE NO. 11 corresponded with WOLFE or PRATT by email and text
 6    message. They offered her $5,000.00 to do an adult video. JANE DOE NO. 11 asked him where the
 7    video would be distributed. They told her they would not post the video online, they would not
 8    distribute the video in the United States, and that she would remain anonymous. They told her the
 9    video was for DVD in Australia only. They assured her there was nothing to worry about, promised
10    her privacy, and said nobody she knew would see the videos. They had her speak with another women,
11    who assured her the videos do not get leaked.
12    118.   On March 29, 2016, JANE DOE NO. 11 made an adult video for The Defendants at a hotel in
13    San Diego. Before the shoot, GARCIA and ROE 251 (“Ted”) assured JANE DOE NO. 11 they would
14    not post the video online, they would not distribute the video in the United States, and that she would
15    remain anonymous.
16    119.   They continued to make these representations when providing her with documents, did not
17    allow her to thoroughly read, and GARCIA represented the documents were “liability stuff and to
18    protect their identities.” In fact, JANE DOE NO. 11 asked GARCIA if anyone had ever found the
19    videos or had seen him in the videos. He said no. The Defendants’ makeup artist (“Riva”) also assured
20    her there was nothing to worry about.
21    120.   Around May 1, 2016, The Defendants released JANE DOE NO. 11’s video on
22    www.girlsdoporn.com and other websites, which were then discovered by her family, friends, and
23    employer.
24    121.   Also on information and belief, around May 1, 2016, The Defendants, their subscribers, and/or
25    third parties leaked JANE DOE NO. 11’s real name and her contact information (social media, phone,
26    email, etc.) on other websites, including, at least, the blog www.pornwikileaks.com. People then
27    harassed JANE DOE NO. 11 through social media, text message, and phone. JANE DOE NO. 11
28    became depressed and debated suicide several times.
                                                       18
                                          SECOND AMENDED COMPLAINT
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 1    JANE DOE NO. 12
 2    122.      Around February 2015, The Defendants posted an advertisement on Craigslist.com, seeking
 3    young women for adult modeling in Knoxville, Tennessee.
 4    123.      That same month, JANE DOE NO. 12 corresponded with GARCIA and WOLFE by email and
 5    text message. They offered her $5,000.00 to do adult videos. JANE DOE NO. 12 asked them where
 6    the videos would be distributed. They told her they would not post the videos online, they would not
 7    distribute the videos in the United States, and that she would remain anonymous. They told her the
 8    videos would never go on the Internet and was for DVD in Australia only. They assured her there was
 9    nothing to worry about, promised her privacy, and said nobody she knew would see the videos. They
10    had her speak with another women, who assured her the videos do not get leaked.
11    124.      On February 2, 2015 and February 5, 2015, JANE DOE NO. 12 made an adult video for The
12    Defendants at a hotel in San Diego and at a condo downtown, respectively. Before the shoot, GARCIA
13    WOLFE assured JANE DOE NO. 12 they would not post the video online, they would not distribute
14    the video in the United States, and that she would remain anonymous.
15    125.      They continued to make these representations when providing her with documents, which they
16    said were simply her agreeing to the amount she would be paid and to the video, and also distracted her
17    while she was reading.
18    126.      GARCIA and WOLFE then reneged on their promise to pay JANE DOE NO. 12 the $5,000 and
19    only paid her $4,000.00 (saying she had cellulite on her legs).
20    127.      Around April 2015, The Defendants released JANE DOE NO. 12’s video on
21    www.girlsdoporn.com and other websites, which were then discovered by her family, friends, and
22    school.
23    128.      Also on information and belief, around April 2015, The Defendants, their subscribers, and/or
24    third parties leaked JANE DOE NO. 12’s real name and her contact information (social media, phone,
25    email, etc.) on other websites, including, at least, the blog www.pornwikileaks.com. JANE DOE NO.
26    12 became depressed, had nightmares, and lost/injured relationships with friends and family.
27    ///
28    ///
                                                           19
                                            SECOND AMENDED COMPLAINT
     Case 3:19-cv-00160-WQH-BLM Document 1-2 Filed 01/24/19 PageID.24 Page 20 of 38



 1    JANE DOE NO. 13
 2    129.      Around November 2015, The Defendants posted an advertisement on Craigslist.com, seeking
 3    young women for adult modeling in Knoxville, Tennessee.
 4    130.      That same month, JANE DOE NO. 13 corresponded with GARCIA (going by his alias
 5    “Jonathan”) and ROE 251 (going by his alias “Ted”) by email and text message. They offered her
 6    $5,000 to do an adult video. JANE DOE NO. 13 asked them where the video would be distributed.
 7    They told her they would not post the video online, they would not distribute the video in the United
 8    States, and that she would remain anonymous. They told her the video would never go on the Internet
 9    and was for DVD in Australia only. They assured her there was nothing to worry about, promised her
10    privacy, and said nobody she knew would see the videos. They had her speak with another women,
11    who assured her the videos do not get leaked.
12    131.      On November 24, 2015, JANE DOE NO. 13 made an adult video for The Defendants at The
13    Grand Hyatt Hotel in New York, New York (where The Defendants were traveling at the time). Before
14    the shoot, GARCIA and ROE 251 assured JANE DOE NO. 13 they would not post the video online,
15    they would not distribute the video in the United States, and that she would remain anonymous.
16    132.      They continued to make these representations when providing her with documents, which they
17    said were simply “summing up all they had talked about,” and also distracted her and rushed her while
18    she was reading.
19    133.      GARCIA and ROE 251 then reneged on their promise to pay JANE DOE NO. 13 the $5,000
20    and only paid her $3,000.00 (saying she had fat and cellulite on her legs, and they did not like her
21    breasts).
22    134.      Around January 10, 2016, The Defendants released JANE DOE NO. 13’s video on
23    www.girlsdoporn.com and other websites, which were then discovered by her family, friends, and
24    school.
25    135.      Also on information and belief, around on January 10, 2016, The Defendants, their subscribers,
26    and/or third parties leaked JANE DOE NO. 12’s real name and her contact information (social media,
27    phone, email, etc.) on other websites, including, at least, the blog www.pornwikileaks.com. People
28    then harassed JANE DOE NO. 13 through social media, text message, and phone. JANE DOE NO. 13
                                                    20
                                           SECOND AMENDED COMPLAINT
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 1    became depressed and debated suicide.
 2    JANE DOE NO. 14
 3    136.      Around July 2014, The Defendants posted an advertisement on Craigslist.com, seeking young
 4    women for adult modeling in New York, New York.
 5    137.      That same month, JANE DOE NO. 14 corresponded with GARCIA and WOLFE by email and
 6    text message. They offered her $5,000 to do adult videos. JANE DOE NO. 14 asked them where the
 7    videos would be distributed. They told her they would not post the videos online, they would not
 8    distribute the videos in the United States, and that she would remain anonymous. They told her the
 9    videos would never go on the Internet and was for DVD in Australia only. They assured her there was
10    nothing to worry about, promised her privacy, and said nobody she knew would see the videos. They
11    had her speak with another women, who assured her the videos do not get leaked.
12    138.      Around July 15, 2014, JANE DOE NO. 14 made an adult videos for The Defendants in San
13    Diego. Before the shoot, GARCIA and WOLFE assured JANE DOE NO. 14 they would not post the
14    video online, they would not distribute the video in the United States, and that she would remain
15    anonymous.
16    139.      They continued to make these representations when providing her with documents, which they
17    said were simply “standard documents stating her name and age,” and also distracted her and rushed
18    her while she was reading.
19    140.      Around June 2015, The Defendants released JANE DOE NO. 14’s video on
20    www.girlsdoporn.com and other websites, which were then discovered by her family, friends, and
21    school.
22    141.      Also on information and belief, around on January 10, 2016, The Defendants, their subscribers,
23    and/or third parties leaked JANE DOE NO. 14’s real name and her contact information (social media,
24    phone, email, etc.) on other websites, including, at least, the blog www.pornwikileaks.com. People
25    then harassed JANE DOE NO. 14 and her family through social media, text message, and phone.
26    JANE DOE NO. 14 became depressed, lives in fear, and moved out of the country to Canada.
27    ///
28    ///
                                                           21
                                           SECOND AMENDED COMPLAINT
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 1                                              CAUSES OF ACTION
 2                                           FIRST CAUSE OF ACTION
 3                                   INTENTIONAL MISREPRESENTATION
 4                    (All The Plaintiffs against All Named Defendants and ROES 1 - 500)
 5    142.    The Plaintiffs incorporate by reference all of the preceding paragraphs contained in this
 6    complaint as though set forth herein, including, without limitation, the agency and alter ego allegations.
 7    143.    During The Plaintiffs’ discussions and negotiations with The Defendants before each made an
 8    adult video for The Defendants (and simultaneous with The Plaintiffs’ attempted review of any
 9    purported agreements), The Defendants represented: they would not post the videos online (or cause
10    such publication), they would not distribute the videos in the United States (or cause such publication),
11    and that The Plaintiffs would remain anonymous. The Defendants further represented at all times to
12    The Plaintiffs that would not cause the videos to be posted online or distributed in the United States.
13    The Defendants at all times assured The Plaintiffs there was nothing to worry about, promised privacy,
14    and said nobody The Plaintiffs knew would see the videos. The Defendants caused other women to
15    reiterate these representations to The Plaintiffs. Finally, The Defendants represented they would pay
16    The Plaintiffs certain sums of money; as set forth above, some of The Plaintiffs did not receive the
17    sums represented.
18    144.    Those representations were false.
19    145.    The Defendants intended that The Plaintiffs rely on the above representations when each young
20    woman decided to make an adult video.
21    146.    The Plaintiffs reasonably relied on the representations.
22    147.    The Plaintiffs have been harmed by their reasonable reliance in that The Defendants published
23    their videos online, published their videos in the United States, and released The Plaintiffs’ real names.
24    148.    The Plaintiffs’ reliance on these false representations was a substantial factor in causing their
25    harm. The Plaintiffs have been harmed in an amount to be proven at trial, but that is, at least, $500,000
26    per plaintiff, and consists of, at least: (a) serious emotional distress, including, but not limited to,
27    bullying, blackmail, loss of eating, loss of sleep, enduring fright, shock, nervousness, anxiety,
28    depression, embarrassment, mortification, shame, and fear; (b) compensatory damages, including, but
                                                        22
                                            SECOND AMENDED COMPLAINT
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 1    not limited to the difference in value in what the parties exchanged (i.e., the money The Plaintiffs
 2    received for what they were told was limited distribution and what The Defendants profited through
 3    global distribution); and (c) restitution / unjust enrichment damages (same calculation as the
 4    compensatory damages). The Plaintiff also seek injunctive relief.
 5    149.   The Defendants were acting individually and on behalf of each other when they made each of
 6    these representations and, when one of them made a representation, the others ratified the
 7    representation and/or knew of the misrepresentation and failed to correct it.
 8    150.   The Defendants also acted in a conspiracy when they committed this fraud as: (1) each of The
 9    Defendants had knowledge of and agreed to both the objective and course of action to injure The
10    Plaintiffs; (2) pursuant to their agreement, The Defendants intentionally mislead The Plaintiffs at the
11    time and place and via the manner set forth above; and (3) pursuant to their agreement, The Defendants
12    injured The Plaintiffs, as set forth above.
13    151.   The Defendants’ actions were fraudulent, oppressive, and malicious and therefore warrant an
14    award of punitive damages pursuant to Section 3294 of the California Civil Code.
15                                        SECOND CAUSE OF ACTION
16                                      FRAUDULENT CONCEALMENT
17                    (All The Plaintiffs against All Named Defendants and ROES 1 – 500)
18    152.   The Plaintiffs incorporate by reference all of the preceding paragraphs contained in this
19    complaint as though set forth herein, including, without limitation, the agency and alter ego allegations.
20    153.   During The Plaintiffs’ discussions and negotiations with The Defendants before each made an
21    adult video for The Defendants (and simultaneous with The Plaintiffs’ attempted review of any
22    purported agreements), The Defendants actively concealed their true identities (their individual names
23    and, more importantly, the identity of www.girlsdoporn.com, on which they intended to publish The
24    Plaintiffs nude photos and sex acts). At all these times, they actively concealed the fact their true
25    intention was to post the videos online and distribute them in the United States – or cause such
26    publication and distribution. At all these times, The Defendants also concealed the facts regarding: (a)
27    all of the other young women whose lives they have irreparably damaged earlier by The Defendants’
28    video publication and promotion; (b) all of the other young women imploring them to stop and to take
                                                          23
                                           SECOND AMENDED COMPLAINT
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 1    down their videos; and (c) all of the complaints that they (and their legal counsel) have received from
 2    other young women and their families.
 3    154.      The Defendants owed The Plaintiffs duties to disclose this information as, among other reasons,
 4    they provided some information to The Plaintiffs during correspondence, and during contract and
 5    business negotiations.
 6    155.      The Defendants knew of, but knowingly concealed, the true facts regarding their identifies, their
 7    website, their business, their video distribution, and the likelihood of injury to and harassment of The
 8    Plaintiffs.
 9    156.      The Defendants concealed these facts with the intent to induce The Plaintiffs to make the adult
10    videos.
11    157.      The concealed information was objectively material to any reasonable person and caused The
12    Plaintiffs to make the adult videos.
13    158.      The Plaintiffs justifiably relied on The Defendants’ false representations.
14    159.      The Defendants’ failure to disclose these material facts to The Plaintiffs was substantial factor
15    in causing their harm. Had The Plaintiffs known of the undisclosed facts, they would not have made
16    the adult videos.
17    160.      The Plaintiffs’ reliance on these false representations was a substantial factor in causing their
18    harm. The Plaintiffs have been harmed in an amount to be proven at trial, but that is, at least, $500,000
19    per plaintiff, and consists of, at least: (a) serious emotional distress, including, but not limited to,
20    bullying, blackmail, loss of eating, loss of sleep, enduring fright, shock, nervousness, anxiety,
21    depression, embarrassment, mortification, shame, and fear; (b) compensatory damages, including, but
22    not limited to the difference in value in what the parties exchanged (i.e., the money The Plaintiffs
23    received for what they were told was limited distribution and what The Defendants profited through
24    global distribution); and (c) restitution / unjust enrichment damages (same calculation as the
25    compensatory damages). The Plaintiff also seek injunctive relief.
26    161.      The Defendants were acting individually and on behalf of each other when they made each of
27    these omissions and, when one of them made an omission, the others ratified the omission and/or knew
28    of the omission and failed to correct it.
                                                             24
                                             SECOND AMENDED COMPLAINT
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 1    162.   The Defendants also acted in a conspiracy when they committed this fraud as: (1) each of The
 2    Defendants had knowledge of and agreed to both the objective and course of action to injure The
 3    Plaintiffs; (2) pursuant to their agreement, The Defendants intentionally mislead The Plaintiffs at the
 4    time and place and via the manner set forth above; and (3) pursuant to their agreement, The Defendants
 5    injured The Plaintiffs, as set forth above.
 6    163.   The Defendants’ actions were fraudulent, oppressive, and malicious and therefore warrant an
 7    award of punitive damages pursuant to Section 3294 of the California Civil Code.
 8                                         THIRD CAUSE OF ACTION
 9                                                  FALSE PROMISE
10                    (All The Plaintiffs against All Named Defendants and ROES 1 - 500)
11    164.   The Plaintiffs incorporate by reference all of the preceding paragraphs contained in this
12    complaint as though set forth herein, including, without limitation, the agency and alter ego allegations.
13    165.   During The Plaintiffs’ discussions and negotiations with The Defendants before each made an
14    adult video for The Defendants (and simultaneous with The Plaintiffs’ attempted review of any
15    purported agreements), The Defendants made promises to The Plaintiffs that: they would not post the
16    videos online (or cause such publication), they would not distribute the videos in the United States (or
17    cause such publication), and The Plaintiffs would remain anonymous. The Defendants promised The
18    Plaintiffs that would not cause the videos to be posted online or distributed in the United States. The
19    Defendants promised The Plaintiffs there was nothing to worry about, promised privacy, and promised
20    nobody they knew would see the videos. Finally, The Defendants represented they would pay The
21    Plaintiffs certain sums of money; as set forth above, some of The Plaintiffs did not receive the sums
22    represented.
23    166.   The Defendants’ affirmative promises were of material fact and important as The Plaintiffs
24    would not have otherwise made the adult videos.
25    167.   The Defendants did not intend to perform these promises at the times they made them, and have
26    not performed as promised. The Defendants knew their promises were false and merely wanted The
27    Plaintiffs to make the videos for The Defendants’ benefit.
28    168.   The Defendants intended to induce The Plaintiffs to alter their positions in reliance on the
                                                       25
                                           SECOND AMENDED COMPLAINT
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 1    promises by making the adult videos.
 2    169.    The Plaintiffs justifiably and reasonably relied on The Defendants’ promises and The
 3    Defendants’ affirmative promises were an immediate cause of The Plaintiffs’ conduct.
 4    170.    The Defendants did not perform the promises.
 5    171.    As an actual and proximate cause of The Defendants’ false promises and The Plaintiffs’
 6    justifiable reliance, The Plaintiffs were damaged in that The Defendants posted the videos online,
 7    distributed the videos in the United States, and released The Plaintiffs’ names.
 8    172.    The Plaintiffs’ reliance on these false representations was a substantial factor in causing their
 9    harm. The Plaintiffs have been harmed in an amount to be proven at trial, but that is, at least, $500,000
10    per plaintiff, and consists of, at least: (a) serious emotional distress, including, but not limited to,
11    bullying, blackmail, loss of eating, loss of sleep, enduring fright, shock, nervousness, anxiety,
12    depression, embarrassment, mortification, shame, and fear; (b) compensatory damages, including, but
13    not limited to the difference in value in what the parties exchanged (i.e., the money The Plaintiffs
14    received for what they were told was limited distribution and what The Defendants profited through
15    global distribution); and (c) restitution / unjust enrichment damages (same calculation as the
16    compensatory damages). The Plaintiff also seek injunctive relief.
17    173.    The Defendants were acting individually and on behalf of each other when they made each of
18    these omissions and, when one of them made a false promise, the others ratified it, and/or knew of the
19    false promise and failed to correct it.
20    174.    The Defendants also acted in a conspiracy when they committed this fraud as: (1) each of The
21    Defendants had knowledge of and agreed to both the objective and course of action to injure The
22    Plaintiffs; (2) pursuant to their agreement, The Defendants intentionally mislead The Plaintiffs at the
23    time and place and via the manner set forth above; and (3) pursuant to their agreement, The Defendants
24    injured The Plaintiffs, as set forth above.
25    175.    The Defendants’ actions were fraudulent, oppressive, and malicious and therefore warrant an
26    award of punitive damages pursuant to Section 3294 of the California Civil Code.
27    ///
28    ///
                                                             26
                                            SECOND AMENDED COMPLAINT
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 1                                        FOURTH CAUSE OF ACTION
 2                                   NEGLIGENT MISREPRESENTATION
 3           (Jane Doe Nos. 1-3, 5-8, and 10-14 against All Named Defendants and ROES 1 - 500)
 4    176.   The Plaintiffs incorporate by reference all of the preceding paragraphs contained in this
 5    complaint as though set forth herein, including, without limitation, the agency and alter ego allegations.
 6    177.   During The Plaintiffs’ discussions and negotiations with The Defendants before each made an
 7    adult video for The Defendants (and simultaneous with The Plaintiffs’ attempted review of any
 8    purported agreements), The Defendants represented: they would not post the videos online (or cause
 9    such publication), they would not distribute the videos in the United States (or cause such publication),
10    and that The Plaintiffs would remain anonymous. The Defendants further represented at all times to
11    The Plaintiffs that would not cause the videos to be posted online or distributed in the United States.
12    The Defendants at all times assured The Plaintiffs there was nothing to worry about, promised privacy,
13    and said nobody The Plaintiffs knew would see the videos. The Defendants caused other women to
14    reiterate these representations to The Plaintiffs.
15    178.   The representations were false and although The Defendants may have honestly believed that
16    the representations were true, they had no reasonable grounds for believing the representations were
17    true when they made them.
18    179.   The Defendants intended that The Plaintiffs would rely on the above representations in their
19    decisions to make the adult videos.
20    180.   The Plaintiffs reasonably relied on The Defendants’ misrepresentations in their decisions to
21    make the adult videos.
22    181.   The Plaintiffs’ reliance on The Defendants’ false representations was a substantial factor in
23    causing their harm in that The Defendants posted their videos online, published their videos in the
24    United States, and released The Plaintiffs’ names.
25    182.   The Plaintiffs’ reliance on these false representations was a substantial factor in causing their
26    harm. The Plaintiffs have been harmed in an amount to be proven at trial, but that is, at least, $500,000
27    per plaintiff, and consists of, at least, compensatory damages, including, but not limited to the
28    difference in value in what the parties exchanged (i.e., the money The Plaintiffs received for what they
                                                          27
                                            SECOND AMENDED COMPLAINT
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 1    were told was limited distribution and what The Defendants profited through global distribution).
 2                                           FIFTH CAUSE OF ACTION
 3                  MISAPPROPRIATION OF NAME AND LIKENESS [COMMON LAW]
 4                     (All The Plaintiffs against All Named Defendants and ROES 1 - 500)
 5    183.    The Plaintiffs incorporate by reference all of the preceding paragraphs contained in this
 6    complaint as though set forth herein, including, without limitation, the agency and alter ego allegations.
 7    184.    The Defendants used The Plaintiffs’ names, likenesses, and/or identities without The Plaintiffs’
 8    permission, though fraud, and/or without promised consideration, including, without limitation, on The
 9    Defendants’ websites (e.g., www.girlsdoporn.com), social media, and advertising. Finally, any release
10    purporting to give The Defendants unconditional use of The Plaintiff’s videos is unenforceable due to
11    unclear terms, a lack of mental capacity/competence, mistake, undue influence, and/or The Defendants’
12    unclean hands.
13    185.    The Defendants’ gained a commercial benefit by using The Plaintiffs’ names, likenesses, and/or
14    identities.
15    186.    Following Defendants’ initial publication of each of The Plaintiffs’ videos on their own
16    websites, and through the date of this amended complaint, Defendants have republished and redirected
17    the misappropriated content to different websites and to different audiences. Defendants have
18    republished The Plaintiffs’ misappropriated likenesses to different audiences in various advertising
19    campaigns on the Internet, including on third party websites (such as www.pornhub.com and
20    www.youporn.com), where Defendants post varying and edited snippets of The Plaintiffs’ videos with
21    embedded links and advertisements to Defendants’ websites; these varying and edited snippets of The
22    Plaintiffs’ videos have been viewed millions of times by hundreds of thousands of different individuals.
23    Defendants conduct the same form of repetitive mass advertising on their fan blogs and forums, and on
24    their own social media.
25    187.    The Plaintiffs’ reliance on these false representations was a substantial factor in causing their
26    harm. The Plaintiffs have been harmed in an amount to be proven at trial, but that is, at least, $500,000
27    per plaintiff, and consists of, at least: (a) serious emotional distress, including, but not limited to,
28    bullying, blackmail, loss of eating, loss of sleep, enduring fright, shock, nervousness, anxiety,
                                                            28
                                            SECOND AMENDED COMPLAINT
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 1    depression, embarrassment, mortification, shame, and fear; (b) compensatory damages, including, but
 2    not limited to the difference in value in what the parties exchanged (i.e., the money The Plaintiffs
 3    received for what they were told was limited distribution and what The Defendants profited through
 4    global distribution); and (c) restitution / unjust enrichment damages (same calculation as the
 5    compensatory damages). The Plaintiff also seek injunctive relief.
 6    188.   The Defendants also acted in a conspiracy when they committed this tort as: (1) each of The
 7    Defendants had knowledge of and agreed to both the objective and course of action to injure The
 8    Plaintiffs; (2) pursuant to their agreement, The Defendants intentionally misappropriated The Plaintiffs’
 9    names, likenesses, and/or identities at the time and place and via the manner set forth above; and (3)
10    pursuant to their agreement, The Defendants injured The Plaintiffs, as set forth above.
11    189.   The Defendants’ actions were fraudulent, oppressive, and malicious and therefore also warrant
12    an award of punitive damages pursuant to Section 3294 of the California Civil Code.
13                                         SIXTH CAUSE OF ACTION
14                      MISAPPROPRIATION OF LIKENESS [CIVIL CODE § 3344]
15                    (All The Plaintiffs against All Named Defendants and ROES 1 - 500)
16    190.   The Plaintiffs incorporate by reference all of the preceding paragraphs contained in this
17    complaint as though set forth herein, including, without limitation, the agency and alter ego allegations.
18    191.   On their websites (e.g., www.girlsdoporn.com), social media, and other advertising, The
19    Defendants knowingly used The Plaintiffs’ names, voices, photographs, video, and likenesses to
20    advertise or sell subscriptions to The Defendants’ businesses.
21    192.   The Defendants’ use did not occur in connection with a news, public affairs, or sports broadcast
22    or account, or with a political campaign.
23    193.   The Defendants did not have The Plaintiffs’ consent, obtained it though fraud, and/or without
24    promised consideration. Finally, any release purporting to give The Defendants unconditional use of
25    The Plaintiff’s videos is unenforceable due to unclear terms, a lack of mental capacity/competence,
26    mistake, undue influence, and/or The Defendants’ unclean hands.
27    194.   The Defendants use of The Plaintiffs’ names, voices, photographs, video, and likenesses was
28    directly connected to The Defendants’ commercial purpose.
                                                       29
                                          SECOND AMENDED COMPLAINT
     Case 3:19-cv-00160-WQH-BLM Document 1-2 Filed 01/24/19 PageID.34 Page 30 of 38



 1    195.    Following Defendants’ initial publication of each of The Plaintiffs’ videos on their own
 2    websites, and through the date of this amended complaint, Defendants have republished and redirected
 3    the misappropriated content to different websites and to different audiences. Defendants have
 4    republished The Plaintiffs’ misappropriated likenesses to different audiences in various advertising
 5    campaigns on the Internet, including on third party websites (such as www.pornhub.com and
 6    www.youporn.com), where Defendants post varying and edited snippets of The Plaintiffs’ videos with
 7    embedded links and advertisements to Defendants’ websites; these varying and edited snippets of The
 8    Plaintiffs’ videos have been viewed millions of times by hundreds of thousands of different individuals.
 9    Defendants conduct the same form of repetitive mass advertising on their fan blogs and forums, and on
10    their own social media.
11    196.    The Plaintiffs’ reliance on these false representations was a substantial factor in causing their
12    harm. The Plaintiffs have been harmed in an amount to be proven at trial, but that is, at least, $500,000
13    per plaintiff, and consists of, at least: (a) serious emotional distress, including, but not limited to,
14    bullying, blackmail, loss of eating, loss of sleep, enduring fright, shock, nervousness, anxiety,
15    depression, embarrassment, mortification, shame, and fear; (b) compensatory damages and/or statutory
16    damages, including, disgorgement of profits; (c) attorney fees; and (d) restitution / unjust enrichment
17    damages (i.e., the money The Plaintiffs received for what they were told was limited distribution and
18    what The Defendants profited through global distribution). The Plaintiff also seek injunctive relief.
19    197.    The Defendants also acted in a conspiracy when they committed this tort as: (1) each of The
20    Defendants had knowledge of and agreed to both the objective and course of action to injure The
21    Plaintiffs; (2) pursuant to their agreement, The Defendants intentionally misappropriated The Plaintiffs’
22    names, voices, photographs, video, and likenesses at the time and place and via the manner set forth
23    above; and (3) pursuant to their agreement, The Defendants injured The Plaintiffs, as set forth above.
24    198.    The Defendants’ actions were fraudulent, oppressive, and malicious and therefore also warrant
25    an award of punitive damages pursuant to Section 3294 of the California Civil Code.
26    ///
27    ///
28    ///
                                                             30
                                            SECOND AMENDED COMPLAINT
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 1                                        SEVENTH CAUSE OF ACTION
 2                       INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
 3           (Jane Doe Nos. 1-3, 5-8, and 10-14 against All Named Defendants and ROES 1 - 500)
 4    199.    The Plaintiffs incorporate by reference all of the preceding paragraphs contained in this
 5    complaint as though set forth herein, including, without limitation, the agency and alter ego allegations.
 6    200.    The Defendants concealed the fact they run an online pornography website. In order to get The
 7    Plaintiffs to make adult videos, The Defendants lied to The Plaintiffs about the distribution. They
 8    assured The Plaintiffs there was nothing to worry about and promised privacy. The Defendants knew
 9    all of the other young women whose lives they have irreparably damaged earlier by The Defendants’
10    video publication and promotion; all of the other young women imploring them to stop and to take
11    down their videos; and all of the complaints and they (and their legal counsel) have received from other
12    young women and their families. The Defendants used The Plaintiffs’ videos and names to
13    commercially promote their websites and enrich themselves. This conduct was outrageous as it
14    exceeded all bounds of common decency usually tolerated by a civilized society.
15    201.    The Defendants intended to inflict the injuries stated herein upon The Plaintiffs, or the injuries
16    were substantially certain to result from The Defendants’ conduct.
17    202.    The Defendants’ outrageous conduct actually and proximately caused The Plaintiffs to suffer
18    serious emotional distress, including, but not limited to, loss of eating, loss of sleep, enduring fright,
19    shock, nervousness, anxiety, depression, embarrassment, mortification, shame, fear, and – for some -
20    consideration of suicide. The Plaintiffs have been harmed in an amount to be proven at trial, but that is,
21    at least, $500,000 per plaintiff.
22    203.    The Defendants also acted in a conspiracy when they committed this tort as: (1) each of The
23    Defendants had knowledge of and agreed to both the objective and course of action to injure The
24    Plaintiffs; (2) pursuant to their agreement, with their outrageous conduct, The Defendants intentionally
25    inflicted severe emotional distress upon The Plaintiffs at the time and place and via the manner set forth
26    above; and (3) pursuant to their agreement, The Defendants injured The Plaintiffs, as set forth above.
27    204.    The Defendants’ actions were fraudulent, oppressive, and malicious and therefore warrant an
28    award of punitive damages pursuant to Section 3294 of the California Civil Code.
                                                       31
                                           SECOND AMENDED COMPLAINT
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 1                                         EIGHTH CAUSE OF ACTION
 2                                                   NEGLIGENCE
 3           (Jane Doe Nos. 1-3, 5-8, and 10-14 against All Named Defendants and ROES 1 - 500)
 4    205.    The Plaintiffs incorporate by reference all of the preceding paragraphs contained in this
 5    complaint as though set forth herein, including, without limitation, the agency and alter ego allegations.
 6    206.    In their transactions and dealings with The Plaintiff, The Defendants had a duty to use ordinary
 7    care and to prevent injury to The Plaintiffs based on the foreseeability of harm to The Plaintiffs, the
 8    degree of certainty The Plaintiff would suffer injuries, the closeness of connection between The
 9    Defendants’ actions and The Plaintiffs’ injuries, the moral blame attached to The Defendants’ conduct,
10    the policy of preventing future harm, and the extent of The Defendants’ burden and the consequences to
11    the community of imposing duty and liability.
12    207.    The Defendants’ above-described actions and omissions (e.g., lying about and concealing the
13    fact they run an online pornography website upon which they planned to post the videos; and assuring
14    The Plaintiffs there was nothing to worry about – all while knowing that release of the videos would
15    cause harassment and severe emotional damage), breached the duty of care.
16    208.    The Defendants’ breach of the duty of care actually and proximately caused The Plaintiffs harm
17    in an amount to be proven at trial, but that is, at least, $500,000 per plaintiff, and consists of, at least:
18    (a) serious emotional distress, including, but not limited to, bullying, blackmail, loss of eating, loss of
19    sleep, enduring fright, shock, nervousness, anxiety, depression, embarrassment, mortification, shame,
20    and fear; (b) compensatory damages, including, but not limited to the difference in value in what the
21    parties exchanged (i.e., the money The Plaintiffs received for what they were told was limited
22    distribution and what The Defendants profited through global distribution); and (c) restitution / unjust
23    enrichment damages (same calculation as the compensatory damages). The Plaintiff also seek
24    injunctive relief.
25    ///
26    ///
27    ///
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                                                             32
                                            SECOND AMENDED COMPLAINT
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 1                                         NINTH CAUSE OF ACTION
 2                                           BREACH OF CONTRACT
 3           (Jane Doe Nos. 1-3, 5-8, and 10-14 against All Named Defendants and ROES 1 - 500)
 4    209.   The Plaintiffs incorporate by reference all of the preceding paragraphs contained in this
 5    complaint as though set forth herein, including, without limitation, the agency and alter ego allegations.
 6    210.   The Plaintiffs entered into oral agreements with The Defendants whereby The Plaintiffs agreed
 7    to make their respective videos with the conditions: they would not post the videos online (or cause
 8    such publication), they would not distribute the videos in the United States (or cause such publication),
 9    and they would ensure their privacy and anonymity.
10    211.   The Plaintiffs performed all of their obligations under the agreements; in particular, they
11    participated in the video shoots.
12    212.   All conditions required for The Defendants’ performances occurred, but they breached the
13    contract by distributing and/or causing the videos to be posted online and in the United States, and by
14    failing to ensure The Plaintiffs’ privacy and anonymity. Also, as set forth above, some of The Plaintiffs
15    did not receive the sums agreed upon for their video(s).
16    213.   As an actual and proximate cause of The Defendants’ breach, The Plaintiffs were damaged in an
17    amount to be proven at trial, but believed to be, at least, $500,000 per plaintiff.
18                                         TENTH CAUSE OF ACTION
19                                          PROMISSORY ESTOPPEL
20           (Jane Doe Nos. 1-3, 5-8, and 10-14 against All Named Defendants and ROES 1 - 500)
21    214.   The Plaintiffs incorporate by reference all of the preceding paragraphs contained in this
22    complaint as though set forth herein, including, without limitation, the agency and alter ego allegations.
23    215.   The Defendants made clear and unambiguous promises to The Plaintiffs that: they would not
24    post the videos online (or cause such publication), they would not distribute the videos in the United
25    States (or cause such publication), and they would ensure their privacy and anonymity.
26    216.   The Plaintiffs relied on these promises in that they made the videos.
27    217.   The Plaintiffs’ reliance was both reasonable and foreseeable.
28    218.   The Plaintiffs were injured as a result in that The Defendants distributed or cause the
                                                           33
                                           SECOND AMENDED COMPLAINT
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 1    distribution of the videos online and in the United States, and failed to ensure The Plaintiffs’ privacy
 2    and anonymity.
 3    219.      Injustice can be avoided only by an award of compensatory and consequential damages in the
 4    amount of, at least, $500,000 per plaintiff.
 5                                        ELEVENTH CAUSE OF ACTION
 6                   VIOLATION OF BUSINESS & PROFESSIONS CODE §§ 17200, et seq.
 7                      (All The Plaintiffs against All Named Defendants and ROES 1 - 500)
 8    220.      The Plaintiffs incorporate by reference all of the preceding paragraphs contained in this
 9    complaint as though set forth herein, including, without limitation, the agency and alter ego allegations.
10    221.      The Defendants’ conduct constitutes a “business practice” under Business & Professions Code,
11    Section 17200, et seq. (“Section 17200”).
12    222.      The Defendants’ “business practice” constitutes “unlawful” conduct under Section 17200, as it
13    violates common and California statutory law. The Defendants’ “business practice” constitutes
14    “fraudulent” conduct under Section 17200, as it deceives – and is likely to deceive – members of the
15    public.
16    223.      The Defendants intended their conduct to cause – and it did so cause – The Plaintiffs to suffer
17    economic injury in fact and caused The Defendants to receive ill-gotten gains. The Plaintiffs were
18    damaged – and The Defendants unjustly enriched - in an amount to be proven at trial, but believed to
19    be, at least, $500,000 per plaintiff. As such, The Plaintiffs have individual standing under Section
20    17200.
21    224.      Pursuant to the remedies provisions of Section 17200: The Defendants owe The Plaintiffs
22    restitution of The Plaintiffs’ property (e.g., videos and images); the Court should enjoin The
23    Defendants’ violative conduct; and the Court should issue the maximum civil penalties permitted.
24    ///
25    ///
26    ///
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                                                            34
                                            SECOND AMENDED COMPLAINT
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 1                                      TWELFTH CAUSE OF ACTION
 2                                         FRAUDULENT TRANSFER
 3                (All The Plaintiffs against All The Named Defendants and ROES 475 - 550)
 4    225.    The Plaintiffs incorporate by reference all of the preceding paragraphs contained in this
 5    complaint as though set forth herein, including, without limitation, the agency and alter ego allegations.
 6    226.    The Plaintiffs have a right to payment from The Defendants for the claims in this action and are,
 7    thus, creditors.
 8    227.    On information and belief, The Defendants transferred The Plaintiffs’ videos and the revenue
 9    generated therefrom to defendant Oh Well Media Limited (a sham entity in Vanuatu used to hide
10    assets) and ROES 200 – 250 with the intent to hinder, delay, or defraud The Plaintiffs in their collection
11    efforts on the subject claims.
12    228.    The Plaintiffs were harmed as, among other things, they still have not received compensation
13    for the claims in this action.
14    229.    The Defendants’ conduct was a substantial factor in causing The Plaintiffs’ harm.
15    230.    The Defendants’ actions were fraudulent and malicious and therefore warrant an award of
16    punitive damages pursuant to Section 3294 of the California Civil Code.
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                                          SECOND AMENDED COMPLAINT
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 1                                          PRAYER FOR RELIEF
 2          WHEREFORE, The Plaintiffs pray for judgment against The Defendants as follows:
 3          A.     For compensatory damages of, at least, $7,000,000;
 4          B.     For restitution and ill-gotten gains/unjust enrichment;
 5          C      For civil penalties;
 6          D.     For an injunction;
 7          E.     For punitive damages;
 8          F.     For attorney fees;
 9          G.     For prejudgment interest;
10          H.     For costs of suit; and
11          I.     For such other and further relief as the Court deems just and proper.
12

13      Date: March 13, 2017                                     By: /s/ John J. O’Brien
                                                                     Robert Hamparyan
14                                                                   John J. O’Brien
15                                                                   Brian M. Holm
                                                                     Carrie Goldberg
16                                                                   Attorneys for Plaintiffs

17

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                                          SECOND AMENDED COMPLAINT
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 1                                         PROOF OF SERVICE
                                 (Section 1013a, 2015.5 Code of Civ. Proc.)
 2                                     State of California, County of
 3             I am employed in the County of San Diego, State of California. I am over 18 years of age and not
 4     a party to the within action; my business address is 275 West Market Street, San Diego, California 92101.

 5     Case Name: Jane DOES v. Girlsdoporn.com, et. al
       Case Number: 37-2016-00019027-CU-FR-CTL
 6
 7     On March 13, 2017, I served the following documents described as:

 8                PLAINTIFFS’ SECOND AMENDED COMPLAINT (REDACTED)
 9
10    On the interested parties in this action, addressed as follows:
11
12     George D. Rikos                                           Daniel Kaplan
       Law Office of George Rikos                                Law Offices of Daniel A. Kaplan
13     225 Broadway, Suite 2100, San Diego, CA 92101             555 West Beech Street, Suite 230
       Tel: (858) 342-9161                                       San Diego, CA 92101
14     Fax: (866) 365-4856                                       Tel: (619) 685-3988
15     Counsel for Defendant DOMI Publications, LLC.             Fax: (619) 684-3239
       george@georgerikoslaw.com                                 dkaplan@danielkaplanlaw.com
16                                                               Co-Counsel for Remaining Defendants
      Aaron Sadock, Esq.
17    Panakos Law APC                                            Brian M. Holm
      555 West Beech Street, Suite 500                           HOLM LAW GROUP, PC
18                                                               12636 High Bluff Drive, Suite 400
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19    Fax: (866) 365-4856                                        San Diego, CA 92130
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                                                       Proof of Service
     Case 3:19-cv-00160-WQH-BLM Document 1-2 Filed 01/24/19 PageID.42 Page 38 of 38



             BY MAIL: I am readily familiar with the office practice for collection and processing of
 1           correspondence for mailing with the United States Postal Service (USPS). The correspondence
             indicated above would be deposited with the USPS the same date as this declaration in the ordinary
 2           course of business. The correspondence was placed for deposit with the USPS at the offices of the
             Law Offices of Robert Hamparyan, 275 West Market Street, San Diego, California. The
 3           envelope(s) was/were sealed with postage fully prepaid on this date and placed for collection and
 4           mailing following ordinary business practices and addressed as shown above.

 5           BY PERSONAL SERVICE: By personally delivering the above-captioned document(s) to the
             parties within.
 6
             BY FACSIMILE TRANSMISSION: I caused the above-referenced document to be faxed to the
 7           fax number(s) indicated above. The facsimile machine I used complied with rule 2.301 and no error
             was reported by the machine. Pursuant to rule 2.306(g), I caused the machine to print a record of
 8           the transmission.
 9           BY OVERNIGHT MAIL: I caused to be served by leaving for delivery by USPS a copy of the
             aforementioned document, in sealed envelopes addressed as shown above.
10
       X     BY ELECTRONIC SERVICE: By sending the above-captioned document(s) to the parties via
11           electronic transmission through One Legal as stipulated between parties.
12           I declare under penalty of perjury under the laws of the State of California that the foregoing is true
13     and correct, and that this declaration was executed on March 13, 2017, at San Diego, California.

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15                                                                  Alicia Aquino

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                                                      Proof of Service
